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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

UNITED STATES OF AMERICA                          )
                                                  )          No. 17-cr-00770
       v.                                         )
                                                  )          Judge Andrea R. Wood
JEFFREY JOHNSON                                   )

                          MEMORANDUM OPINION AND ORDER

       Defendant Jeffrey Johnson has been convicted following a jury trial of one count of

knowingly and intentionally possessing a controlled substance, namely, heroin and

furanylfentanyl (an analogue of fentanyl), in violation of 21 U.S.C. § 841(a). The Court is now

poised to impose Johnson’s sentence. In anticipation of the final sentencing hearing, the Court

with this opinion resolves Johnson’s primary objections to the Presentence Investigation Report

(Dkt. No. 116). The main issues are whether Johnson’s prior state-court conviction for the

manufacture or delivery of heroin was a “serious drug felony” subjecting him to a 15-year

mandatory minimum sentence pursuant to 21 U.S.C. §§ 841(b)(1)(A) and 851, and whether he is

properly treated as a career offender under the United States Sentencing Guidelines (“USSG” or

“Guidelines”). Also before the Court is Johnson’s amended motion for a new trial under Federal

Rule of Criminal Procedure 33. (Dkt. No. 175.) For the reasons that follow, Johnson’s motion for

a new trial is denied and his sentencing objections are sustained in part and overruled in part.

                                         BACKGROUND

       On April 5, 2017, Chicago Police Department officers executed a search warrant for an

apartment occupied by Johnson. During the course of their search, the officers discovered a sock

concealing several small bags containing over 100 grams of a mixture and substance containing

detectable amounts of furanylfentanyl (an analogue of fentanyl) and heroin. The discovery
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provided the basis for the Government’s superseding indictment here. Ultimately, Johnson was

tried by a jury and, on September 20, 2019, he was found guilty of knowingly and intentionally

possessing a controlled substance in violation of 21 U.S.C. § 841(a).

       Prior to trial, the Government provided notice that in the event Johnson was found guilty,

it would seek a sentencing enhancement pursuant to 21 U.S.C. § 851. (Dkt. No. 80.) Specifically,

the Government stated that it would seek a 15-year mandatory minimum sentence under 21

U.S.C. § 841(b)(1)(A) based on Johnson’s prior state-court conviction for a serious drug felony.

Following the jury’s guilty verdict, the Court held a § 851 hearing at which the Government

introduced evidence that Johnson had a final conviction in case number 11 CR 0680701 in the

Circuit Court of Cook County, Illinois, for the manufacture or delivery of heroin in violation of

720 ILCS 570/401(c)(1). The Court found that the Government had proved beyond a reasonable

doubt the fact of conviction, that Johnson had served more than 12 months’ imprisonment for the

conviction, and that he had been released from his term of imprisonment for the conviction within

15 years of the commencement of the offense in the present case. (See Dkt. No. 106.) At that time,

Johnson reserved his arguments (and the Court reserved its decision) as to how those facts

impacted the sentence to which he would be subject. Instead, such issues would be addressed

through post-trial motions and at sentencing.

       Johnson timely moved for a judgment of acquittal under Federal Rule of Criminal

Procedure 29(c)(1) after the jury’s guilty verdict. (Dkt. No. 108.) In his motion, Johnson argued

that the jury’s guilty verdict violated the Ex Post Facto Clause of Article I, Section 9 of the

United States Constitution and that he could not be subject to the enhanced penalty imposed by 21

U.S.C. § 841(b)(1)(A)(vi) because that provision was void for vagueness. The Court denied the

motion and the case proceeded to sentencing.




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          In connection with his sentencing, Johnson raised two objections to the Presentence

Investigation Report. (Dkt. No. 116.) First, he challenged the imposition of a 15-year mandatory

minimum sentence pursuant to 21 U.S.C. § 841(b)(1)(A) because he committed the offense of

conviction after a prior conviction for a serious drug felony—namely, the state conviction for

manufacture or delivery of heroin that was the subject of the post-verdict § 851 hearing. Second,

Johnson objected to the Presentence Investigation Report’s recommendation that he be sentenced

as a career offender under USSG § 4B1.1(a)(3) for having at least two prior controlled substance

offenses. After hearing the parties’ arguments at the initial sentencing hearing on March 10, 2020,

the Court continued the sentencing to allow the parties to submit further briefing on Johnson’s

objections. But before that briefing could be completed, Johnson requested new counsel. The

Court granted the request, substituted Johnson’s current counsel into the case, and vacated the

briefing schedule to give the new counsel time to familiarize himself with the facts and legal

issues.

          Johnson’s new counsel subsequently filed what he styled as an “amended motion” to

suppress evidence from the search of Johnson’s residence (Dkt. No. 162), a request that this Court

had previously denied. (Dkt. No. 51.) The amended motion sought to raise new bases for

suppressing the drugs uncovered by police during that search. However, the Court denied the

amended motion as untimely. (Dkt. No. 173.) The Court noted that Johnson had essentially tried

to show good cause to excuse his untimely motion by making an ineffective assistance of counsel

argument, as he claimed that his previous counsel was objectively unreasonable and had no

strategic purpose for failing to raise in the pretrial motion to suppress the arguments presented in

the amended motion. However, the Court declined to consider the effectiveness of Johnson’s

previous counsel in the good cause analysis.




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        Following the denial of his “amended” pretrial motion, Johnson filed an “amended post-

trial motion,” seeking to raise new arguments in support of his previous motion for a new trial.

(Dkt. No. 175.) At a hearing held on January 12, 2021, the Court heard argument on Johnson’s

amended post-trial motion and further argument on Johnson’s sentencing objections, for which

the parties have also submitted additional briefing. The post-trial motion and sentencing

objections are now ripe for ruling.

                                           DISCUSSION

        I.      Motion for New Trial

        Before proceeding to Johnson’s objections to the application of the 15-year mandatory

minimum sentence and career offender sentencing guideline, the Court must address the newly

filed motion for a new trial. Johnson claims that this latest motion is meant to clarify and

elaborate upon the arguments in his original post-trial motion concerning the imposition of the

enhanced penalty provided by 21 U.S.C. § 841(b)(1)(A) based on the jury’s finding that he

possessed 100 grams or more of an analogue of fentanyl. But Johnson already filed a motion for a

new trial, which the Court denied. Moreover, his amended motion comes more than a year after

the jury’s guilty verdict.

        Under Federal Rule of Criminal Procedure 33(b)(2), a motion for a new trial grounded on

a reason other than newly discovered evidence must be filed within 14 days of the guilty verdict.

While the Court may grant an extension of time to file a post-trial motion under Federal Rule of

Criminal Procedure 45(b), Johnson would have to show that his untimely motion was caused by

excusable neglect. Here, there is no basis for granting an extension under Rule 45(b). Johnson’s

amended motion provides no explanation of what excusable neglect warrants allowing him to

clarify and elaborate upon the arguments he made in his previously rejected motion for a new




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trial. It appears that, like his amended pretrial motion, Johnson’s only reason for bringing the

untimely motion is to attempt to correct the work of prior counsel. But for the same reasons that

Johnson’s prior counsel’s purportedly deficient performance did not supply good cause for his

untimely amended pretrial motion, the Court similarly finds that ineffective assistance of counsel

does not establish excusable neglect under Rule 45(b)(1)(B). For that reason, Johnson’s amended

motion for a new trial is denied.

        Finally, the Court notes that Johnson claimed at the most recent court hearing that his

primary purpose in bringing his amended post-trial motion was actually to raise sentencing issues,

including certain policy arguments that he believes support a downward variance from the

Guidelines range. To the extent Johnson seeks a lower sentence based on the arguments made in

his post-trial motion, he may raise those arguments in connection with this Court’s consideration

of the sentencing factors under 18 U.S.C. § 3553(a) factors. But for the reasons discussed above,

insofar as he seeks a new trial, Johnson’s arguments are untimely and therefore cannot furnish a

basis for that requested relief.

        II.     Objection to 15-Year Mandatory Minimum Based Upon Prior Serious Drug
                Felony

        Johnson objects to the imposition of a 15-year mandatory minimum sentence due to his

prior conviction for a serious drug felony. A person who, like Johnson, is convicted under 21

U.S.C. § 841(b)(1)(A), is normally subject to a sentence of not less than 10 years. However, under

21 U.S.C. § 851, a defendant may be subject to a sentencing enhancement due to having one or

more prior convictions. Relevant here, a defendant who has committed a violation of

§ 841(b)(1)(A) after a prior conviction for a “serious drug felony” is subject to a 15-year

mandatory minimum sentence.




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       A “serious drug felony” is defined at 21 U.S.C. § 802(57) to mean “an offense described

in section 924(e)(2) of Title 18 [i.e. a “serious drug offense”] for which—(A) the offender served

a term of imprisonment of more than 12 months; and (B) the offender’s release from any term of

imprisonment was within 15 years of the commencement of the instant offense.” For present

purposes, the predicate “serious drug offense” described in 18 U.S.C. 924(e)(2), is “an offense

under State law, involving manufacturing, distributing, or possessing with intent to manufacture

or distribute, a controlled substance (as defined in section 102 of the Controlled Substances Act

(21 U.S.C. § 802)), for which a maximum term of imprisonment of ten years or more is prescribed

by law.” 18 U.S.C. § 924(e)(2)(A)(ii).

       The Government contends that Johnson’s May 14, 2012, conviction in the Circuit Court of

Cook County, Illinois, Case Number 11 CR 0680701, for manufacture or delivery of heroin in

violation of 720 ILCS 570/401(c)(1) constitutes a serious drug felony warranting the imposition

of the 15-year mandatory minimum. At the § 851 hearing, the Court found that Johnson served a

term of imprisonment of more than 12 months in connection with that conviction and he was

released from all terms of incarceration related to the conviction within 15 years of the

commencement of the offense of conviction here. At issue, then, is whether a violation of 720

ILCS 570/401(c)(1) constitutes a “serious drug offense” as defined by 18 U.S.C.

§ 924(e)(2)(A)(ii). Johnson contends that because the elements of 720 ILCS 570/401(c)(1)

prohibit the manufacture or delivery of a broader array of drugs than covered by the definition of

“serious drug offense,” his prior Illinois state-court conviction cannot be used as the basis for the

imposition of § 841(b)(1)(A)’s 15-year mandatory minimum.




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                 A.      Categorical Approach

          To determine whether Johnson’s Illinois conviction constitutes a “serious drug felony” and

thus a basis for an enhancement under § 851, the Court must apply the categorical approach.

Courts applying the categorical approach “compar[e] the state statute of conviction to the federal

statute in question and ask[] whether the two statutes are a categorical match.” United States v.

Elder, 900 F.3d 491, 498 (7th Cir. 2018). This analysis “focuses solely on whether the elements of

the crime of conviction sufficiently match the elements of the crime referenced in the federal

statute, while ignoring the particular facts of the case.” Id. Thus, if the Illinois statute of

conviction is categorically broader than the crime described in the federal definition of “serious

drug felony,” the enhancement does not apply. See Mathis v. United States, 136 S. Ct. 2243, 2251

(2016).

          As discussed above, the parties’ dispute in this case centers on 18 U.S.C.

§ 924(e)(2)(A)(ii)’s definition of “serious drug offense,” incorporated by reference into the

definition of “serious drug felony.” In Shular v. United States, 140 S. Ct. 779 (2020), the Supreme

Court addressed the definition of “serious drug offense” and clarified the categorical methodology

that courts must apply. Specifically, it held that courts should ask “whether the state offense’s

elements necessarily entail one of the types of conduct identified in § 924(e)(2)(A)(ii),” rather

than engaging in “a generic-offense matching exercise” whereby the court “define[s] the elements

of the generic offenses identified in § 924(e)(2)(A)(ii) [and] then compare[s] those elements to the

elements of the state offense.” Id. at 784–85 (internal quotation marks omitted).

          Johnson contends that under the approach set forth in Shular, his Illinois conviction is

categorically broader than the definition of “serious drug offense” because 720 ILCS

570/401(c)(1) criminalizes more controlled substances than federal law. Under 720 ILCS




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570/401(c)(1), it is a Class 1 felony to manufacture or deliver, or possess with intent to

manufacture or deliver “1 gram or more but less than 15 grams of any substance containing

heroin, or an analog thereof.” By comparison, a “serious drug felony” under § 841(b)(1)(A)

requires that the defendant’s prior offense be a “serious drug offense,” which is “an offense under

State law, involving manufacturing, distributing, or possessing with intent to manufacture or

distribute, a controlled substance (as defined in section 102 of the Controlled Substances Act (21

U.S.C. § 802)), for which a maximum term of imprisonment of ten years or more is prescribed by

law.” 18 U.S.C. § 924(e)(2)(A)(ii); 21 U.S.C. § 802(57).

       According to Johnson, the elements of 720 ILCS 570/401(c)(1) do not categorically match

the conduct described in the definition of “serious drug offense” because a person can violate 720

ILCS 570/401(c)(1) by possessing a substance that is not treated as a controlled substance under

federal law. His argument focuses on the differing definitions of the term “analog(ue)” under

federal law and state law. In Illinois, a controlled substance “analog” includes any substance “that

has a chemical structure substantially similar to that of a controlled substance in Schedule I or II,

or that was specifically designed to produce an effect substantially similar to that of a controlled

substance in Schedule I or II.” 720 ILCS 570/401. By contrast, the definition of “serious drug

felony” defines “controlled substance” by reference to section 102 of the Controlled Substances

Act. That section defines a controlled substance analogue as a substance:

       (i) the chemical structure of which is substantially similar to the chemical structure
       of a controlled substance in schedule I or II; (ii) which has a stimulant, depressant,
       or hallucinogenic effect on the central nervous system that is substantially similar
       to or greater than the stimulant, depressant, or hallucinogenic effect on the central
       nervous system of a controlled substance in schedule I or II; or (iii) with respect to
       a particular person, which such person represents or intends to have a stimulant,
       depressant, or hallucinogenic effect on the central nervous system that is
       substantially similar to or greater than the stimulant, depressant, or hallucinogenic
       effect on the central nervous system of a controlled substance in schedule I or II.




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21 U.S.C. § 802(32)(A).

       The Seventh Circuit, in United States v. Turcotte, 405 F.3d 515 (7th Cir. 2005), abrogated

on other grounds by McFadden v. United States, 576 U.S. 186 (2015), as recognized in United

States v. Novak, 841 F.3d 721, 729 (7th Cir. 2016), adopted a conjunctive reading of the federal

definition of “analogue,” such that two conditions must be met for a substance to qualify as a

controlled substance analogue: “(1) The substance in question must have a chemical structure

substantially similar to a controlled substance (criterion one) and (2) it must either have a

substantially similar effect on the central nervous system (criterion two) or be purported or

intended to have such an effect (criterion three).” Id. at 521–23. But under Illinois law, an analog

need only have a chemical structure substantially similar to a controlled substance or be designed

to have a substantially similar effect on the central nervous system to a controlled substance.

       Johnson claims that Illinois’s definition is broader than the federal definition, therefore

precluding the imposition of the 15-year mandatory minimum associated with a prior conviction

for a serious drug felony. The Government, on the other hand, argues that under Shular, the

federal definition of “controlled substance analogue” is irrelevant. It further argues that any

differences between the two definitions of analogue are too minor to matter in the application of

the categorical approach.

       First, the Court rejects the Government’s contention that differences in the state and

federal definitions of controlled substances do not matter in the “serious drug offense” categorical

analysis post-Shular. The Schular analysis requires this Court to compare the elements of

Johnson’s state conviction to the conduct set out under the definition of “serious drug offense.”

That conduct does not simply entail the manufacture, distribution, or possession with intent to

manufacture or distribute a controlled substance; rather, it entails that conduct with respect to a




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controlled substance as defined by federal law. That the substance constitutes a controlled

substance under federal law is an essential component of the conduct covered under the definition

of “serious drug felony.”

       That conclusion is confirmed by the Seventh Circuit’s recent decision in United States v.

Ruth, 966 F.3d 642 (7th Cir. 2020). There, the Seventh Circuit analyzed whether the defendant’s

prior conviction for possession with intent to deliver cocaine under 720 ILCS 570/401(c)(2)

constitutes a “felony drug offense” for purposes of 21 U.S.C. § 841(b)(1)(C). A felony drug

offense is defined under the federal statute to mean “an offense that is punishable by

imprisonment for more than one year under any law of the United States or of a State or foreign

country that prohibits or restricts conduct relating to narcotic drugs, marihuana, anabolic steroids,

or depressant or stimulant substances.” 21 U.S.C. § 802(44). The issue before the Seventh Circuit

in Ruth concerned whether Illinois’s definition of cocaine was more expansive than the federal

definition of cocaine (which was deemed to be a narcotic drug for purposes of the felony drug

offense definition). Ruth, 966 F.3d at 645–648. The divergence between the two definitions was

arguably quite small—in Illinois, cocaine includes optical, positional, and geometric isomers

whereas the federal definition includes only optical and geometric isomers. Id. at 647.

Nonetheless, that mismatch was sufficient for the Seventh Circuit to conclude that the Illinois

statute was “categorically broader than the federal definition.” Id.

       Although the Seventh Circuit was analyzing a different term in § 841(b), its analysis

makes clear that even post-Shular, differences in the state and federal definitions of controlled

substance affect the application of the categorical approach. Thus, this Court cannot ignore that

the conduct described by § 924(e)(2)(A)(ii)’s definition of “serious drug offense” appears to cover

a narrower range of heroin analogues than the analogs addressed by 720 ILCS 570/401(c)(1).




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Further, the Ruth court found that even minor differences in definitions will preclude the

application of an enhancement. The Government argues that, in reality, there will not be any

practical difference between the Illinois and federal definitions of analogue. Yet, in Ruth, the

Seventh Circuit rejected such an argument, explaining that “[i]t is not the province of the judiciary

to rewrite Illinois’s statute to conform to a supposed practical understanding of the drug trade.”

Ruth, 966 F.3d at 648.1

        The Seventh Circuit did acknowledge that “[t]here may be an occasion where a state

statute covers unquestionably nonexistent conduct” but declined to state how an analysis of such a

circumstance would be conducted. Id. The Government recently argued to this Court that it is

impossible for a substance deemed to be a heroin analog under Illinois’s statute not also to

constitute an analogue of heroin under the federal definition. But when the Government first

addressed Johnson’s sentencing objections, it conceded that “it is theoretically possible for a

substance to be prosecuted as an analog under state but not federal law” and argued that Johnson

had “not established that this is a reasonable probability.” (Gov.’s Resp. to Objs. to the

Presentence Investigation Report at 9, Dkt. No. 120.) In any case, in Ruth, an expert testified that

his analysis of over 50,000 cocaine samples failed to yield any substance that did not match both

the federal and state definitions of cocaine. Still, the Seventh Circuit stated that the testimony did

not establish that such a substance did not exist and therefore declined to ignore the definitional

differences. Ruth, 966 F.3d at 648; see also United States v. De La Torre, 940 F.3d 938, 952 (7th

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  The Seventh Circuit noted in Ruth that the Government’s argument about the lack of practical difference
in statutory definitions derived from its reliance on Supreme Court precedent “caution[ing] courts against
seizing on modest state-law deviations from the generic definition” of the crime and urging courts to
instead focus on whether the relevant state law “substantially corresponds” to the generic crime. Ruth, 966
F.3d at 647–48 (quoting Quarles v. United States, 139 S. Ct. 1872, 1880 (2019)). However, the Seventh
Circuit went on to state that “looking to whether elements ‘substantially correspond’ falls within a different
categorical approach methodology and does not apply equally under the conduct-based method” set forth
in Shular. Id.



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Cir. 2019) (“[W]e do not think that the government’s theoretical challenges are pertinent . . . when

the plain language chosen by the Indiana legislature dictates that the Indiana statute is

categorically broader than the federal definition of felony drug offense.”).

       Here, the Government has not only failed to establish that it is impossible for a substance

to be deemed a heroin analog under Illinois law but not a controlled substance analogue under

federal law, it has conceded the theoretical possibility of such a circumstance. Consequently, Ruth

precludes the Court from dismissing the minor but real differences between Illinois and federal

definitions of “analog(ue).”

               B.      Divisibility

       Despite the Court’s finding of a categorical mismatch between the crime set out in 720

ILCS 570/401(c)(1) and the federal definition of “serious drug felony,” if subsection (c)(1) is

divisible then Johnson’s prior state conviction may still qualify as a “serious drug felony” by

application of the modified categorical approach. Normally, the categorical analysis “is limited to

‘the fact of conviction and the statutory definition of the prior offense.’” United States v.

Edwards, 836 F.3d 831, 835 (7th Cir. 2016) (quoting Taylor v. United States, 495 U.S. 575, 602

(1990)). However, sometimes a statute is divisible, “meaning it ‘sets out one or more elements of

the offense in the alternative.’” Id. (quoting Descamps v. United States, 570 U.S. 254, 257

(2013)). “Under these circumstances a court may ‘consult a limited class of documents to

determine which alternative formed the basis of the defendant’s prior conviction.’” Id. (quoting

Descamps, 570 U.S. at 257). Documents that may be consulted under this “modified categorical

approach” include “charging papers, jury instructions, and any available plea agreements or plea

colloquies.” Id.




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       Here, the Government argues that 720 ILCS 570/401(c)(1) is divisible because “heroin”

and “analog of heroin” are alternative elements. In Ruth, the Seventh Circuit addressed a

divisibility issue with respect to 720 ILCS 570/401(c)(2), which substantially mirrors subsection

(c)(1) by making it a felony to manufacture or deliver or possess with intent to manufacture or

deliver “1 gram or more but less than 15 grams of any substance containing cocaine, or an analog

thereof.” In Ruth, the Seventh Circuit concluded that this subsection was “clearly indivisible”

because it “lists only one crime: possession with intent to distribute cocaine.” Ruth, 966 F.3d at

650. Thus, there was “no uncertainty as to what statutory offense formed the basis of [the

defendant’s] crime of conviction,” thereby ending the inquiry. Id. Although Ruth expressly states

that subsection (c)(2) is indivisible, the Seventh Circuit’s analysis focused solely on the “cocaine”

portion of subsection (c)(2) and did not address the phrase “or analog thereof.” Thus, it is

somewhat unclear whether the Seventh Circuit intended to hold only that the phrase “any

substance containing cocaine” was indivisible as opposed to concluding that the entire subsection,

including the reference to cocaine analog offenses, is indivisible. For this reason, this Court finds

Ruth informative but not necessarily dispositive of whether subsection (c)(1) is divisible as to

heroin and heroin analogs.

       A statute is not divisible if it simply “defines a single offense with alternative means of

satisfying a particular element.” Elder, 900 F.3d at 502 (internal quotation marks omitted). For

present purposes, the question is whether subsection (c)(1) defines a single offense that can be

satisfied no matter whether the substance involved is heroin or an analog of heroin, or whether it

creates separate offenses for heroin and heroin analogs. The first step in the divisibility analysis is

to consider “whether there is a decision by the state supreme court authoritatively construing the

relevant statute and establishing which facts are elements and which are means.” Id. (internal




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quotation marks omitted). Despite multiple opportunities to do so, the parties have not identified

any dispositive Illinois Supreme Court authority regarding whether a controlled substance offense

is divisible from its analog offense, and the Court is not aware of any such authority.

Consequently, the Court next looks to “the text and structure of the statute itself.” Id.

        “The difference between ‘elements’ and ‘means’ can seem slippery [and] sometimes

almost metaphysical.” Najera-Rodriguez v. Barr, 926 F.3d 343, 348 (7th Cir. 2019). “Elements”

refer to the “‘constituent’ parts of a crime’s legal definition—the things the ‘prosecution must

prove to sustain a conviction.’” Id. at 348–49 (quoting Mathis, 136 S. Ct. at 2248). On the other

hand, “the facts of the offense ‘are mere real-world things—extraneous to the crime’s legal

requirements,’ and ‘need neither be found by a jury nor admitted by a defendant.’” Id. at 349

(quoting Mathis, 136 S. Ct. at 2248). The text of a statute may clearly demonstrate its divisibility

by explicitly identifying the elements. Id. In addition, if the statute’s “alternatives carry different

punishments,” those alternatives “must be elements.” Id. (internal quotation marks omitted). But

where the statute simply offers “illustrative examples” of the “crime’s means of commission,” the

statute is not divisible. Id. (internal quotation marks omitted).

        The Court concludes that subsection (c)(1) is indivisible as between heroin and an analog

thereof. First, 720 ILCS 570/401 states that “a controlled substance analog shall be treated in the

same manner as the controlled substance to which it is substantially similar.” This strongly

suggests that manufacturing or distributing a heroin analog is simply an alternative means of

committing the crime of manufacturing or distributing heroin. Moreover, heroin and heroin

analogs are grouped together under subsection (c)(1) and subject to the same punishment; the

nature of the punishment does not vary by whether the substance contains heroin or an analog

thereof but rather by the quantity of the substance at issue. It is not just heroin that is given this




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treatment. Rather, in each subsection of 720 ILCS 570/401 in which the controlled substance is

listed separately, the controlled substance is followed by the phrase “or an analog thereof.” Thus,

analogs of all covered controlled substances are consistently treated the same and punished the

same as the controlled substance that they mimic. Put differently, the text and structure of the

statute evidences an intent to broaden the definition of each controlled substance to include any

other substance designed as a substitute for that controlled substance. Particularly in light of the

statute’s command to treat analogs in the same manner as the corresponding controlled substance,

manufacturing or delivering of a heroin analog should be viewed as simply an alternative means

of committing the crime of manufacturing or delivering heroin.

        The Illinois cases cited by the Government are not persuasive. First, the Government cites

People v. Fernandez, 16 N.E.3d 151, 155–56 (Ill. App. Ct. 2014), where the Illinois Appellate

Court explained that “when a defendant is subject to Class X sentencing [under 720 ILCS

520/401(a)] for possession of a controlled substance with intent to deliver, the drug type and

amount are elements of the offense.” In addition, the Government cites the Illinois Supreme

Court’s statement that, “[i]n a controlled substance case, the State must present sufficient

evidence that the substance at issue is a controlled substance.” People v. Hagberg, 733 N.E.2d

1271, 1273–74 (Ill. 2000).2 Of course, this Court agrees that whether the substance contains

“heroin, or an analog thereof” is an element of a violation of subsection (c)(1). The issue not

answered by either of the Government’s cases is whether the State must prove the exact identity
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 The defendant’s conviction in Hagberg arose under a different controlled substance statute than here, 720
ILCS 570/402(c). And that statute is structured differently, as it applies broadly to any “amount of a
controlled substance other than methamphetamine or counterfeit substance not set forth” in other
subsections of the statute. Id. Furthermore, the Seventh Circuit has previously found that 720 ILCS
570/402(c) is indivisible. Najera-Rodriguez, 926 F.3d 343. In making that finding, the Seventh Circuit
addressed Hagberg and stated that “[t]o the extent [it] offers any guidance, its use of the general phrase ‘a
controlled substance’ signals that the identity of the controlled substance is not an element under” 720
ILCS 570/402(c). Najera-Rodriguez, 926 F.3d at 353. Thus, under the Seventh Circuit’s understanding of
Hagberg, the case actually cuts against the Government’s divisibility argument.



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of the substance as between heroin and its analog, or whether it must simply prove that the

substance is either heroin or one of its analogs. For the reasons discussed above, the Court

concludes that the substance’s status as either heroin or an analog concerns only alternative means

of satisfying the same element.

       Notably, the limited documents submitted by the Government from the record of

Johnson’s prior state conviction do not demonstrate subsection (c)(1)’s divisibility. See Mathis,

136 S. Ct. at 2256–57 (stating that a court is permitted to take a “peek at record documents” in the

course of its divisibility analysis “for the sole and limited purpose of determining whether the

listed items are elements of the offense” (internal quotation marks omitted)). Indeed, the certified

statement of Johnson’s conviction lists the charged offense as “720-570/401(c)(1) F1 MFG/DEL

1<15 GR HEROIN/ANALOG.” That shorthand description of the charge does not differentiate

between heroin and heroin analogs. Moreover, even as the Government argues for this Court to

employ the modified categorical approach, it never actually points to anything in the record of

Johnson’s prior conviction that demonstrates that Johnson’s prior offense involved heroin as

opposed to a heroin analog. Thus, even if this Court applied the modified categorical approach,

the Government has failed to prove that Johnson’s prior conviction did not arise under the

overbroad portion of subsection (c)(1). See United States v. Templeton, 543 F.3d 378, 384 (7th

Cir. 2008) (stating that a sentencing enhancement may not be applied if the documents that may

be considered in the modified categorical analysis do not yield a conclusive answer as to the

defendant’s precise crime of conviction).

       In sum, Johnson’s conviction under 720 ILCS 570/401(c)(1) was categorically broader

than the definition of “serious drug felony” because its elements did not necessarily entail one of

the types of conduct covered by federal law. Further, subsection (c)(1) is not divisible such that




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the modified categorical approach would apply. Consequently, the Court sustains Johnson’s

objection to the imposition of the 15-year mandatory minimum. Instead, the 10-year mandatory

minimum called for by § 841(b)(1)(A) applies.

        III.    Objection to Application of Career Offender Guideline

        In calculating Johnson’s Guidelines range, the Presentence Investigation Report found that

Johnson was a career offender for purposes of USSG § 4B1.1(a)(3) due to his two prior controlled

substance offenses.3 That classification increased Johnson’s total offense level from 30 to 37 and

moved him from criminal history category V to category VI. Johnson objects to the application of

this career offender enhancement. Similar to his objection to the 15-year mandatory minimum,

Johnson argues that the predicate offenses arose under Illinois laws that covered a broader array

of controlled substances than federal law.

        Under USSG § 4B1.1(a)(3), a defendant will be classified as a career offender where he

has at least two prior felony convictions for a controlled substance offense. For purposes of this

guideline, a controlled substance offense is defined at USSG § 4B1.2(b) as

        an offense under federal or state law, punishable by imprisonment for a term
        exceeding one year, that prohibits the manufacture, import, export, distribution, or
        dispensing of a controlled substance (or a counterfeit substance) or the possession
        of a controlled substance (or a counterfeit substance) with intent to manufacture,
        import, export, distribute, or dispense.

The Guidelines do not further define “controlled substance.”

        Here, Ruth is directly on point, as the Seventh Circuit held that “the career-offender

guideline, and its definition of controlled substance offense, does not incorporate, cross-reference,

or in any way refer to the Controlled Substance Act.” Ruth, 966 F.3d at 651. Rather, the career

offender guideline “defines the term controlled substance offense broadly, and the definition is

3
 In addition to his manufacturing and delivering heroin conviction, the other predicate controlled
substance offense was Johnson’s 2006 conviction for manufacture or delivery of a controlled substance.



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most plainly read to include state-law offenses related to controlled or counterfeit substances

punishable by imprisonment for a term exceeding one year.” Id. at 654. Thus, the analysis does

not require the Court to compare the competing definitions of “analog(ue).” It is sufficient that the

crime was considered a controlled substance offense under Illinois law. For that reason, Johnson’s

objection to the career offender enhancement is overruled.

       Nonetheless, to the extent Johnson contends that his prior criminal history, consisting of

low-level offenses, should not merit career-offender treatment, that is an argument for a variance

below the Guidelines range that he may raise in connection with the Court’s consideration of the

§ 3553(a) factors. Moreover, at a recent hearing, Johnson raised various arguments challenging

the calculation of his criminal history category. For example, he objected that he was given 3

criminal history points for an offense he committed before he turned 18. But that conviction was

properly scored because Johnson was convicted as an adult and later had his probation revoked,

resulting in Johnson being sentenced to 3 years’ imprisonment. See USSG § 4A1.2(d)(1), (k)(1).

Even if any of Johnson’s discrete objections to his criminal history calculation were valid, it

would not change his criminal history category given that his designation as a career offender

automatically places him in category VI. Nonetheless, the Court has considered the Presentence

Investigation Report’s calculation of Johnson’s criminal history category and finds that it was

properly computed prior to the application of the career offender guideline. Having determined

that the Presentence Investigation Report properly calculated Johnson’s total offense level as 37

and his criminal history category as VI, his applicable Guidelines range calls for a sentence of

between 360-months’ and life imprisonment.




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                                          CONCLUSION

       For the foregoing reasons, Johnson’s amended motion for a new trial (Dkt. No. 175) is

denied and his objections to the Pretrial Investigation Report (Dkt. No. 116) are sustained in part

and overruled in part. The Court concludes that Johnson is subject to a 10-year mandatory

minimum sentence for his conviction in this case under 21 U.S.C. § 841(a). In addition, Johnson

qualifies as a career offender under Guidelines § 4B1.1(a)(3). As a result, his total offense level

for sentencing purposes is 37 and his criminal history category is VI, for a sentencing range under

the Guidelines of 360 months to life imprisonment. At the final sentencing hearing, the Court will

confirm that all objections to the Guidelines calculations in the presentence investigation report

have been resolved.

                                                      ENTERED:



Dated: January 26, 2021                               __________________________
                                                      Andrea R. Wood
                                                      United States District Judge




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